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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION

 ANA BRACHO,

         Plaintiff,                          CASE NO.: _____________
 vs.

 WESTERN WORLD INSURANCE
 COMPANY,
       Defendant.
 __________________________________/
                                   NOTICE OF REMOVAL

 TO THE UNITED STATES DISTRICT COURT
 FOR THE SOUTHERN DISTRICT OF FLORIDA
 MIAMI DADE DIVISION:

         Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant, WESTERN WORLD

 INSURANCE COMPANY (“Western World”), by and through its undersigned counsel, gives

 notice of removal of this civil action, Case Number 2021-011281-CA-01 pending in the Circuit

 Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, and hereby removes

 this action to the United States District Court for the Southern District of Florida, Miami-Dade

 Division. In support of its Notice of Removal, Western World states as follows:

         1.      On or about May 13, 2021, Plaintiff, ANA BRACHO (the “Plaintiff”), filed a

 Summons and Complaint, bearing Case Number 2021-011281-CA-01, in the Circuit Court of the

 Eleventh Judicial Circuit in and for Miami-Dade County, Florida.

         2.      Western World is the sole defendant named in the Complaint (the “Complaint”)

 filed by the Plaintiff, styled as Ana Bracho v. Western World Insurance Company. See Complaint,

 attached hereto as Exhibit 1.




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         3.     Western World was served with Plaintiff’s Summons and Complaint on May 27,

 2021. See Notice of Service of Process, attached hereto as Exhibit 2.

         4.     This removal is effected and has been timely filed within one (1) year after

 commencement of the action and within thirty (30) days after Western World received service of

 Plaintiff’s Summons and Complaint.

         5.     The United States District Court for the Southern District of Florida, Miami-Dade

 Division, is the Court and Division encompassing the county wherein such action is pending in

 state court.

         6.     This Court has jurisdiction over this matter and it is properly removed to this Court

 pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.

         7.     Pursuant to 28 U.S.C. § 1446(a), a copy of all papers filed in the record of the State

 Court action are attached hereto along with a copy of the docket as Composite Exhibit 3.

         8.     For the purposes of diversity of citizenship under 28 U.S.C. § 1332(c)(2), the

 Plaintiff is a citizen of the State of Florida. See Miami-Dade County Property Appraiser Record,

 attached hereto as Exhibit 4.

         9.     The Defendant, Western World, is a New Hampshire corporation and maintains its

 principal place of business in New Jersey. Western World is not a citizen of Florida.

         10.    This action is properly removed to this Court pursuant to 28 U.S.C. §§ 1332 and

 1441, in that all properly joined and served parties are of diverse citizenship and the amount in

 controversy exceeds $75,000.00, exclusive of interest and costs.

         11.    Plaintiff alleges that Western World issued an insurance policy (the “Policy”) to

 Plaintiff to insure certain real property located at 10429 NW 63rd Terrace, Miami, FL 33174 (the

 “Property”). See Exhibit 1 at ¶¶ 6, 7.




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         12.    Plaintiff alleges, generally, that Western World has failed to indemnify Plaintiff

 from the amount of loss and that the amount in controversy exceeds $30,000.00. See Exhibit 1 at

 ¶¶ 1, 10, attached and incorporated thereto.

         13.    As support that the amount in controversy exceeds $75,000, the Plaintiff submitted

 an estimate prepared by Santos Public Adjusters for Summary of Dwelling and Contents of the

 damages incurred to the Defendant in the amount of $113,093.98. See Exhibit 5.

         14.    Additionally, given that the Plaintiff seeks recovery for extensive damage to the

 insured Property, and in addition seek reimbursement of attorney’s fees pursuant to Florida

 Statutes §627.428 (Plaintiff’s Complaint at ¶ 13 and WHEREFORE clause), it appears a reasonable

 probability that the amount in controversy exceeds $75,000.00, exclusive of interest and costs.

 See, Kotchman v. State Farm Mut. Auto. Ins. Co., 2015 U.S. Dist. LEXIS 153918 (M.D. Fla. 2015)

 (district courts are permitted to make “reasonable deductions” and “reasonable inferences” in

 determining whether the case meets federal jurisdictional requirements).

         15.    Pursuant to 28 U.S.C. § 1446(d), Plaintiff is being provided with a copy of this

 Notice of Removal and a copy of this Notice of Removal is being filed with the Clerk of the Circuit

 Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida.

         16.    By filing this Notice of Removal, Western World does not waive, and hereby

 reserves all defenses and objections to the Plaintiff’s Summons and Complaint, including, but not

 limited to, failure to state a claim, lack of personal jurisdiction, improper venue and/or

 insufficiency of service of process.

         17.    Pursuant to Rule 11 of the Federal Rules of Civil Procedure, undersigned counsel

 hereby certifies that they have read the foregoing Notice of Removal, and that to the best of their

 knowledge, information, and belief formed after reasonable inquiry, it is well grounded in fact and




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 is warranted by existing law or a good faith argument, and that it is not interposed for any improper

 purpose.

         WHEREFORE, the Defendant, WESTERN WORLD INSURANCE COMPANY,

 respectfully requests that the above-referenced action pending in the Circuit Court of the Eleventh

 Judicial Circuit in and for Miami-Dade County, Florida, Case No. 2021-011281-CA-01, be

 removed from that court to the United States District Court for the Southern District of Florida,

 Miami-Dade, and that this Court assume full jurisdiction over the cause herein as provided by law,

 and grant such further relief that this Court deems just and proper.

         Dated: June 15, 2021.



                                                       CLAUSEN MILLER P.C.

                                                By:    /s/ Douglas M. Cohen
                                                       Douglas M. Cohen, Esq., FBN: 40857
                                                       Michael H. Scott, ESQ., FBN: 0119963
                                                       4830 West Kennedy Blvd. #600
                                                       Tampa, FL 33609
                                                       Tel: (813) 519-1013
                                                       dcohen@clausen.com
                                                       mscott@clausen.com
                                                       lbaez@clausen.com
                                                       Attorneys for Defendant




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 15, 2021, I electronically filed the foregoing document

 with the Clerk of Court via CM/ECF. I also certify that the foregoing document is being served

 this day on all counsel of record.

         Carlos L. Santi, Esquire
         Property & Casualty Law Group
         2307 Douglas Road, Suite 302
         Miami, FL 33145
         CSanti@pclawgroup.com


                                                   CLAUSEN MILLER P.C.

                                            By:    /s/ Douglas M. Cohen
                                                   Douglas M. Cohen, Esq., FBN: 40857
                                                   Michael H. Scott, ESQ., FBN: 0119963




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